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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

  In re Terrorist Attacks on September 11, 2001           03 MDL 1570 (GBD) (SN)
                                                          ECF Case


 This document relates to:
 Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
   PLAINTIFFS DAE JIN RYOOK, INDIVIDUALLY AND AS ADMINISTRATOR OF
   THE ESTATE OF CHRISTINA S. RYOOK, DECEASED, AS ALL SURVIVORS OF
     CHRISTINA S. RYOOK’S MOTION TO FILE UNDER SEAL DOCUMENTS

        On May 5, 2022 Order, ECF No. 7963, this Court set fourth procedures that financial expert

reports submitted in support of default judgments of decedents from the 9/11 attacks should be filed under

seal. Plaintiffs are filing today documents to comply.

        For these reasons, Plaintiffs respectfully request that the Court issue an Order permitting the

filing under seal of the unredacted documents supplementing Plaintiffs’ Motion for Default Judgment

against Islamic Republic of Iran in the above captioned matters.

 Dated: July 22, 2024                                    Respectfully submitted,
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